                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                       Motion GRANTED.
                               NORTHEASTERN DIVISION                              Hearing reset for 10/27/14
                                                                                  at 2:00 p.m.

UNITED STATES OF AMERICA                     )
                                             )       Case No. 2:11-00002
v.                                           )       JUDGE TRAUGER
                                             )
JAMES RUSSELL NORRIS                         )


             AGREED MOTION TO CONTINUE REVOCATION HEARING
       Defendant James Norris respectfully moves the Court to continue the revocation hearing

set for September 29, 2014, by approximately 30 days. On September 8, 2014, he completed an

inpatient drug program and reported on a summons regarding the pending revocation petition that

mainly charges Mr. Norris with having used drugs prior to entering the drug program. Since that

date, he has complied with all conditions of supervision. Undersigned counsel has

communicated with AUSA Harold B. McDonough, Jr. and USPO Brad Bartels, and all parties

have agreed to request a continuance of 30 days so Mr. Norris’ progress can be monitored.



                                             Respectfully submitted,


                                             s/ Michael C. Holley
                                             MICHAEL C. HOLLEY
                                             Assistant Federal Public Defender
                                             810 Broadway, Suite 200
                                             Nashville, Tennessee 37203
                                             615-736-5047

                                             Attorney for James R. Norris



                                CERTIFICATE OF SERVICE
       I hereby certify that on September 25, 2014, I electronically filed the foregoing Motion to
Continue Revocation Hearing with the U.S. District Court Clerk by using the CM/ECF system,
which will send a Notice of Electronic Filing to the following: Harold B. McDonough, Jr.,
Assistant United States Attorney, 110 Ninth Avenue South, Suite A-961, Nashville, Tennessee
37203.

                                             s/ Michael C. Holley
                                             Michael C. Holley


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